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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------- X:
                                                          :
 SIMO HOLDINGS INC.,                                      :
                                                          :
                   Plaintiff,                             : No. 1:18-cv-05427 (JSR)
                                                          :
          -against-                                       :
                                                          :
 HONG KONG UCLOUDLINK NETWORK :
 TECHNOLOGY LIMITED and                                   :
 UCLOUDLINK (AMERICA), LTD.,                              :
                                                          :
                   Defendants.                            X
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     DECLARATION OF BRADFORD A. CANGRO IN SUPPORT OF DEFENDANTS’
       MOTION FOR SUMMARY JUDGMENT OF NON-INFRINGEMENT AND
                        NO PRE-SUIT DAMAGES




DB1/ 102690773.1
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I, Bradford A. Cangro, declare as follows:

       1.       I am an associate at Morgan, Lewis & Bockius LLP and am an attorney of record

in the above-captioned action for Defendants Hong Kong uCloudlink Network Technology

Limited and Ucloudlink (America), Ltd. (collectively “uCloudlink”). I make this declaration in

support of uCloudlink’s summary judgment motion of non-infringement and no pre-suit

damages. The matters stated herein are based upon my personal knowledge, and, if called as a

witness, I could and would competently testify to them.

       2.       Attached as Exhibit A is a true and correct copy of the Initial Expert Report of Dr.

Paul C. Clark dated January 14, 2019.

       3.       Attached as Exhibit B is a true and correct copy of U.S. Patent No. 9,736,689.

       4.       Attached as Exhibit C are true and correct excerpts of the November 29, 2018

deposition transcript of He, Shu.

       5.       Attached as Exhibit D are true and correct excerpts of the November 8, 2018

deposition transcript of Zeng, Rongrong.

       6.       Attached as Exhibit E is a sworn declaration of Liu, Zhenhui.

       7.       Attached as Exhibit F are true and correct excerpts of the January 29, 2019

deposition transcript of Liu, Zhenhui.

       8.       Attached as Exhibit G are true and correct excerpts of the November 7, 2018

deposition transcript of Liu, Jing.

       9.       Attached as Exhibit H are true and correct excerpts of the February 15, 2019

deposition transcript of Dr. Paul C. Clark.

       10.      Attached as Exhibit I is a sworn declaration of Martin J. Feuerstein.




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       11.     Attached as Exhibit J is a true and correct copy of the June 14, 2016 Office

Action issued by the United States Patent and Trademark Office regarding the application for

U.S. Patent No. 9,736,689 (“the June 14, 2016 Office Action”), bearing Bates Nos.

SIMO_0001011-1031.

       12.     Attached as Exhibit K is a true and correct copy of the applicant’s response to the

June 14, 2016 Office Action, bearing Bates Nos. SIMO_0000978-1003.

       13.     Attached as Exhibit L is a true and correct excerpt of the Oxford English

Dictionary (3d ed. 2008) definition of the term “and/or” which is found at

http://www.oed.com/view/Entry/7283?redirectedFrom=and%2For (last accessed Mar. 8, 2019).

       14.     Attached as Exhibit M is a true and correct excerpt of the Merriam-Webster

Dictionary definition of the term “and/or” which is found at https://www.merriam-

webster.com/dictionary/and%2For?utm_campaign=sd&utm_medium=serp&utm_source=jsonld

(last accessed Mar. 8, 2019).

       15.     Attached as Exhibit N are true and correct excerpts of SIMO’s Objections and

Responses to uCloudlink’s First Set of Requests for Admission.

       16.     Attached as Exhibit O are true and correct excerpts of the November 07, 2018

deposition transcript of Plam, Eric.

       17.     Attached as Exhibit P are true and correct excerpts of the November 5, 2018

deposition transcript of Qin, Xiaolei.

       18.     Attached as Exhibit Q is a true and correct copy of SIMO’s letter entitled

“uCloudlink Network Technology Limited and uCloudlink (America), Ltd. – Infringement of

U.S. Patent No. 9,736,689” dated August 13, 2018 (“SIMO’s August 13 Letter”).




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       19.    Attached as Exhibit R is a true and correct copy of uCloudlink’s letter in response

to SIMO’s August 13 Letter dated August 17, 2018.

       20.    Attached as Exhibit S is a true and correct copy of an email dated January 8, 2019

sent from counsel for SIMO to counsel for uCloudlink.

       21.    Attached as Exhibit T are true and correct excerpts of the November 9, 2018

deposition transcript of Zeng, Rongrong.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct. Executed this 8th day of March, 2019, at Washington, D.C.

 Dated: March 8, 2019                               /s/ Bradford A. Cangro
                                                    Bradford A. Cangro




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